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                   (Additional counsel listed below signature line)

           20                               UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
           21
                                                                     Case No. 3:17-cv-00108-GPC-MDD
           22       IN RE:
                                                                      DEFENDANT-
           23                                                         COUNTERCLAIMANTS’
                    QUALCOMM LITIGATION                               MEMORANDUM OF POINTS AND
           24                                                         AUTHORITIES IN OPPOSITION
                                                                      TO JOINT MOTION FOR
           25                                                         DETERMINATION OF
                                                                      DISCOVERY DISPUTE
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                   DEFENDANT-COUNTERCLAIMANTS’ MEMORANDUM OF
Gibson, Dunn &
                   POINTS AND AUTHORITIES IN OPPOSITION TO JOINT MOTION
Crutcher LLP
                   FOR DETERMINATION OF DISCOVERY DISPUTE                      CASE NO. 3:17-CV-00108-GPC-MDD
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               1          Compal Electronics, Inc.; FIH Mobile Ltd.; Hon Hai Precision Industry Co. Ltd.;
               2   Pegatron Corporation; and Wistron Corporation (collectively, the “CMs”) hereby
               3   oppose Qualcomm Incorporated’s (“Qualcomm”) motion to compel.
               4          Qualcomm asks this Court to: (1) order the CMs to adopt overbroad and highly
               5   burdensome search terms that would add millions of documents, most of which are
               6   written in Chinese and impose a particularly heavy document review burden; (2) force
               7   the CMs to add custodians irrespective of the sufficiency of the CMs’ current custodian
               8   selection and of whether Qualcomm’s requested custodians’ documents are entirely
               9   cumulative of the CMs’ existing production; (3) order that the CMs to respond to 17
           10      requests for production that are absurdly overbroad and not proportional to the needs of
           11      the case; and (4) substantially complete review and production of all of the CMs’
           12      documents, including these additional millions – in the next 31 days. Qualcomm’s
           13      behavior also has prevented a meaningful meet and confer on these issues. Qualcomm’s
           14      demands are inconsistent with the Federal Rules of Civil Procedure, this Court’s
           15      Standing Order, and the parties’ Electronically Stored Information (“ESI”) Order.
           16             At Qualcomm’s request, the CMs created 152 search term strings and identified
           17      custodians based on their internal investigations and understanding of their
           18      communications, in order to tailor those search terms and custodians to each of the key
           19      issues on which Qualcomm seeks discovery. These search term strings included, for
           20      example, Chinese language terms given that many of the CMs’ documents are written
           21      in Chinese. The CMs later revised those search terms and custodians as part of meet
           22      and confer discussions with Qualcomm and a “counterproposal” it served on October
           23      26, 2017.      Qualcomm’s “counterproposal” neither addressed the relevance and
           24      sufficiency of each identified custodian, nor demonstrated why the CMs’ search terms
           25      would not adequately target the universe of potentially relevant documents.                For
           26      example, Qualcomm objects that the CMs’ search terms are unduly limiting because
           27      they include proximity limitations that would require that the word “chip” appears near
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                   DEFENDANT-COUNTERCLAIMANTS’ MEMORANDUM
Gibson, Dunn &
                   OF POINTS AND AUTHORITIES IN OPPOSITION TO JOINT MOTION
Crutcher LLP
                   FOR DETERMINATION OF DISCOVERY DISPUTE                    CASE NO. 3:17-CV-00108-GPC-MDD
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               1   “baseband” or “modem.” but ignores that those limitations are derived from the specific
               2   issues in the case. Qualcomm’s search terms, on the other hand, would return a huge
               3   number of irrelevant documents, such as any document containing the word “chip”
               4   without limitation to whether it is a baseband modem chip or a SoC chip, camera
               5   processor chip, memory chip, or I/O chip, among others.
               6          Rather than negotiate such search terms with the CMs, four days after serving a
               7   draft of this motion, Qualcomm sent a counterproposal comprising new search term
               8   strings that, again, were not based upon the CMs’ search term proposal and could not be
               9   meaningfully compared to the CMs’ proposal.                 Qualcomm’s search term
           10      counterproposal is unreasonable and unworkable. The overbreadth of these terms is
           11      confirmed by the CMs’ initial search results. Those results indicate that Qualcomm’s
           12      overbroad search terms would add millions of documents to the CMs’ current document
           13      review population, just with respect to the CMs’ already-identified custodians – even as
           14      Qualcomm is simultaneously demanding that the Court order the CMs to add more
           15      custodians and substantially complete their review and production in 31 days. The CMs
           16      thus respectfully request that the Court deny Qualcomm’s motion for these reasons.
           17         Qualcomm’s Proposed Search Terms Are Overbroad and Not Proportional
           18             Qualcomm is not entitled to an order compelling the CMs to use Qualcomm’s
           19      proposed search terms, which are overbroad and not proportional to the needs of the case
           20      at least because they are not tied to the specific issues in the case. Instead, Qualcomm’s
           21      proposal contains generic, commonly used terms connected by “OR” operators. Such
           22      search terms are highly likely to return irrelevant documents.
           23             For example, Qualcomm’s revised search term 6 would return any documents
           24      containing the terms “chip . . . AND . . . cost” or “chip . . . AND . . . design.” As the
           25      Court is aware, each of the CMs manufacture a wide range of electronics devices (e.g.,
           26      televisions, video game consoles, servers, etc…), the majority of which incorporate
           27      semiconductor “chips,” but have no relevance to this case. Qualcomm’s search term 6
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                   DEFENDANT-COUNTERCLAIMANTS’ MEMORANDUM
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               1   thus would sweep in documents regarding the “cost” of entirely unrelated “chips,” as
               2   well as the “design” of irrelevant products that contain such unrelated “chips.” This
               3   search term alone would capture an enormous number of documents related to almost
               4   every aspect of each CM’s manufacturing process – and Qualcomm has proposed over
               5   50 similarly broad search term strings. By contrast, the CMs, recognizing that certain
               6   aspects of chip design or cost are relevant to this case, proposed no fewer than 25 search
               7   strings targeted to concepts such as cellular capabilities and functionality requirements
               8   in the baseband chips at issue in this case.
               9          The Court should reject Qualcomm’s request to impose its preferred search terms
           10      at this juncture. Courts have been hesitant to order the selection of particular search
           11      terms for electronic discovery without expert evidence, United States v. O'Keefe, 537 F.
           12      Supp. 2d 14, 24 (D.D.C. 2008), and Qualcomm has provided no such evidence that
           13      would either justify its proposal or indicate that the CMs’ proposal is in any way
           14      insufficient. To the extent that the Court chooses not to deny Qualcomm’s motion in its
           15      entirety, the parties should be ordered to continue to meet and confer regarding
           16      appropriate search terms. Trusz v. UBS Realty Inv’rs LLC, No. 3:09 CV 268, 2010 WL
           17      3583064, at *5 (D. Conn. Sept. 7, 2010) (stating that “the issues raised in this motion
           18      largely could have been eliminated had counsel actually conferred with each other about
           19      refining the search terms”).
           20                       Qualcomm Is Not Entitled to Additional Custodians
           21             Qualcomm’s assertion that the CMs failed to provide custodians in key subject
           22      matters is simply inaccurate. For example, Qualcomm asserts that none of the CMs
           23      identified any custodians “who manage the CMs’ respective relationships with Apple.”
           24      That is not the case, as demonstrated by at least the declarations filed by such custodians
           25      in this case and served upon Qualcomm, in which those custodians described their roles
           26      in managing the relationship of their respective CM employer with Apple. E.g., Dkt.
           27      73, Decl. of J. Lam at ¶ 2.
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                   DEFENDANT-COUNTERCLAIMANTS’ MEMORANDUM
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               1          The CMs performed lengthy investigations to determine appropriate custodians,
               2   and have proposed custodians from each CM on every key issue in this case. Discovery
               3   is limited to custodians that have relevant information, and Qualcomm cites no case in
               4   which a court has compelled the use of the moving party’s custodian lists simply because
               5   that party disagrees with the other party’s initial proposal. The CMs’ proposals are
               6   reasonable, and additional custodians are not warranted. Lauris v. Novartis AG, No.
               7   1:16-cv-00393-LJO-SAB, 2016 WL 7178602, at *4 (E.D. Cal. Dec. 8, 2016) (refusing
               8   plaintiff’s request for additional custodians because defendant had already identified
               9   “appropriate document custodians to obtain the relevant discovery”). Furthermore,
           10      Qualcomm’s demand for additional custodians is inconsistent with the stipulated ESI
           11      Order, which requires the parties to identify custodians “reasonably likely to possess
           12      non-duplicative ESI relevant to these cases.” See Dkt. 165 at ¶ 3(a).
           13             Additionally, Qualcomm’s assertion that it does not have sufficient information
           14      about the CMs’ custodians is baseless. The CMs have fully complied with their
           15      obligations to provide the information required under the Federal Rules of Civil
           16      Procedure, the Rules of this Court, and the ESI Order. Furthermore, Qualcomm’s
           17      assertion ignores that Qualcomm already possesses relevant information about the CMs’
           18      custodians.    For example, Qualcomm itself can confirm that the CMs identified
           19      individuals who communicate with Qualcomm about royalty reports and audits. Yet
           20      Qualcomm argues that the CMs did not identify any such custodians.
           21             Qualcomm’s RFPs Are Overbroad, Irrelevant, and Not Proportional
           22             Qualcomm’s motion to compel on 23 different requests should be denied for at
           23      least four reasons. First, Qualcomm’s requests are overbroad on their face, covering
           24      large numbers of ordinary course of business documents that will not be relevant to this
           25      case. Second, Qualcomm has not met its burden to demonstrate that the discovery it
           26      seeks is relevant and that its requests are proportional to the needs of this case. Third,
           27      Qualcomm’s argument that the CMs did not propose narrower versions of the request is
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                   DEFENDANT-COUNTERCLAIMANTS’ MEMORANDUM
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               1   inapposite. It is not the CMs’ or this Court’s duty to redraft Qualcomm’s overbroad
               2   requests. Fourth, Qualcomm ignores that the CMs have in fact agreed to produce the
               3   relevant subset of documents for many of the requests at issue here through other
               4   requests for which the CMs have agreed to produce. And the CMs have proposed search
               5   terms that will return documents sufficient to provide the information that Qualcomm is
               6   seeking. Qualcomm’s 23 requests at issue here are an unwarranted fishing expedition.
               7                       Qualcomm Failed to Properly Meet and Confer
               8            Qualcomm’s motion to compel also should be denied because Qualcomm should
               9   not be rewarded for its failure to properly meet and confer with the CMs. Since July
           10      2017, the CMs repeatedly have invited Qualcomm to suggest proposed custodians or
           11      search terms. Qualcomm refused. The CMs thus each proposed custodians and 140
           12      search term strings to Qualcomm, and then revised those disclosures to accommodate
           13      search term strings and concepts that Qualcomm requested, including by specifying the
           14      particular issue to which each of their now 152 search term strings related and the
           15      custodian(s) with responsibility for such issue. Despite these efforts, Qualcomm then
           16      elected to serve its own search term “counterproposals” on October 26, 2017, that
           17      effectively constituted brand new search terms and were not based on the CMs’ search
           18      terms.     Yet, other than Qualcomm’s complaint that the CMs’ search terms were
           19      unacceptable, and its statement that its own search terms are preferable, Qualcomm did
           20      not identify specific searches terms that were in dispute.
           21               Qualcomm similarly prevented meaningful discussions regarding custodians.
           22      Qualcomm claims that the CMs have not identified sufficient custodians but, for
           23      example, they did not identify many of the custodians sought in this motion until shortly
           24      before serving the CMs with a draft of it – and for many of the custodians, the additional
           25      custodians were requested for the first time in the draft joint motion.
           26                                                Conclusion
           27               The CMs respectfully request the Court deny Qualcomm’s motion to compel.
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                   DEFENDANT-COUNTERCLAIMANTS’ MEMORANDUM
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               1   Dated: November 14, 2017                         Respectfully submitted,
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                                                            Industry Co., Ltd., Pegatron Corporation, and
           27                                               Wistron Corporation
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                   DEFENDANT-COUNTERCLAIMANTS’ MEMORANDUM
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               1                              CERTIFICATE OF SERVICE
               2          The undersigned hereby certifies that a true and correct copy of the above and
               3   foregoing document has been served on November 14, 2017 to all counsel of record
               4   who are deemed to have consented to electronic service via the Court’s CM/ECF
               5   system per Civ. L.R. 5.4(d). Any other counsel of record will be served by electronic
               6   mail and/or U.S. mail.
               7

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                                                          By:          /s/ Jason C. Lo
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Gibson, Dunn &
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                   CERTIFICATE OF SERVICE                                    CASE NO. 3:17-CV-00108-GPC-MDD
